                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

DINA CAPITANI                         )
                                      )
       Plaintiff                      )
                                      )
v.                                    )                Civil Action No. 3:19-cv-00120
                                      )
WORLD OF MINIATURE BEARS, INC., )
individually, and d/b/a MINIBEARGEMS, )
and MINI BEAR GEMS, and               )
MINIBEARSGEMS & GIFTS, INC.,          )
individually, and d/b/a MINIBEARGEMS )
and MINI BEAR GEMS                    )
                                      )
       Defendants.                    )



    NOTICE OF FILING SUPPLEMENTAL JOINT STIPULATED TRIAL EXHIBIT


       COMES NOW the Defendants, World of Miniature Bears, Inc. and MiniBears Gems & Gifts,

Inc., by and through counsel, and hereby submits a notice of filing the following joint stipulated trial

exhibit:

       Joint Stipulated Exhibit No. 2: Case 3:16-cv-00740; PageID# 69 - PageID #98.

The Court took judicial notice of Case No. 3:16-cv-00740 at the pretrial conference on August 28,

2020. In Plaintiff’s Trial Exhibit binder, the Joint Stipulated exhibits are missing PageID#69 -

PageID#98. Defendants hereby submit the missing pages which are part of the record in this matter

as Joint Stipulated Exhibit No. 2. Defendants respectfully request these be included in the trial

exhibit record.

                                               Respectfully submitted,

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                                               /s/ Desireé J.C. Goff
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                                              Desireé J.C. Goff (#31136)
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                                              Nashville, TN 37228
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                                              Attorneys for Defendants



                                  CERTIFICATE OF SERVICE

       I hereby certify that on September 4, 2020, I electronically filed the Notice of Filing Joint

Stipulated Trial Exhibit with the Clerk of this Court using the CM/ECF system which will

automatically send email notification of such filing to the following parties who are CM/ECF

participants:

Autumn L. Gentry, Esq.
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424 Church Street, Suite 800
Nashville, Tennessee 37219
Attorney for Plaintiff Capitani
                                                         /s/ Desireé Goff
                                                     Desireé Goff




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